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1    Jay K. Chien, SBN 251343
     Amrane Cohen, Chapter 13 Trustee
2    770 The City Drive South, Suite 3700
     Orange, CA 92868
3    Phone (714) 621-0200
     e-mail: efile@ch13ac.com
4

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8                                      United States Bankruptcy Court

9                             Central District of California – Santa Ana Division

10   In re:                                        Chapter 13

11   Kelly Deniz Necar,                            Case No.: 8:23-bk-11661-TA

12                                                CHAPTER 13 TRUSTEE’S OBJECTION TO
                                                  CONFIRMATION OF CHAPTER 13 PLAN AND
13                                     Debtor(s). REQUEST FOR DISMISSAL

14                                                 Date:      10/18/2023
                                                   Time:      1:30 PM
15                                                 Courtroom: 5B
                                                   Location: 411 W. 4th St., Santa Ana, CA 92701
16

17

18            Amrane Cohen, Chapter 13 Trustee, (“Trustee”) objects to confirmation of Debtor’s

19   proposed chapter 13 plan. The confirmation hearing is currently set on the date, time, and

20   location indicated above.

21            Notice is hereby given that unless an earlier date is provided by the Local Bankruptcy

22   Rules (“LBR”), any documents requested herein or required to be provided to the Trustee must

23   be provided not later than seven (7) calendar days prior to the confirmation hearing.

24            The current plan was filed on 8/30/23.

25   //

26   //

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1         Trustee’s objections to confirmation are based on the following grounds:
2         1. Debtor is not current on plan payments required pursuant to 11 U.S.C § 1326(a).
3               a. Delinquent plan payments totaling $4,948.00 will be due by the confirmation
4                  hearing date.
5         2. The Debtor has failed to file the following mandatory court forms required
6            pursuant to LBR 9011-1(b)(2):
7               a. Amended Declaration regarding taxes and domestic support: Form F
8                  3015-1.08.DEC.TAX.DSO, Declaration RE Filing of Tax Returns and Payment
9                  of Domestic Support Obligations (Preconfirmation) MANDATORY once
10                 missing tax returns are filed. Debtor’s declaration indicates they do not earn
11                 sufficient income to be required to file tax returns. However, the IRS’ filed
12                 proof of claim #1 indicates Debtor may be required to file multiple prior missing
13                 tax years’ returns. From questioning at the 341(a) Meeting of Creditors, it may
14                 be the situation that while Debtor had net income that would not result in
15                 significant tax liability, Debtor may have earned gross income requiring the
16                 filing of a tax return.
17        3. The Debtor has failed to provide the Trustee with the following documents
18           requested for the 341(a) Meeting of Creditors:
19              a. Trustee has not received copies of Debtor’s 2020-2021 federal and state
20                 income tax returns requested by the Trustee pursuant to 11 U.S.C § 521(a)(3)
21                 and (4), 11 U.S.C § 521 (e)(2)(A)(i) and (B), and LBR 3015-1(c)(3). Due to
22                 the disputed issue if whether Debtor is in fact required to file tax returns
23                 discussed above, Debtor may owe copies of these missing returns to the
24                 Trustee.
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1          4. The plan does not sufficiently provide for the full payment of all claims entitled
2              to priority in the case required pursuant to 11 U.S.C § 1322(a)(2).
3                 a. Creditor IRS has filed court proof of claim #1 indicating a priority claim of
4                     $22,828.01. Debtor’s chapter 13 plan does not provide for this claim.
5          5. Secured creditor(s) have not filed court proofs of claims. The regular claims
6              bar date will pass on 10/25/23. If by that date the creditors do not file proofs of
7              claims, Debtor will need to file proofs of claims on the creditors’ behalf or the
8              creditors may not be paid thru the plan. Further, Trustee requires information
9              from those claims in order to properly administer the conduit payments
10             proposed by the plan.
11

12         For the reasons stated forth above, if the issues are not addressed Trustee requests that
13   confirmation of the chapter 13 plan be denied and the case be dismissed for failure to confirm
14   a chapter 13 plan. Dismissal is in the best interests of creditors. Trustee is unaware that there
15   exists any grounds for conversion of this case to any other chapter of bankruptcy.
16

17   Dated: October 11, 2023                         /s/ Jay K. Chien
                                                     Staff attorney for
18                                                   Amrane Cohen, Chapter 13 Trustee
19
20

21         I declare under the penalty of perjury under the laws of the State of California and the
22   United States of America that the foregoing is true and correct.
23

24   Dated: October 11, 2023                         /s/ Jay K. Chien
                                                     Jay K. Chien
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                                              PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

     770 The City Drive South, Suite 3700, Orange, CA 92868

     A true and correct copy of the foregoing document entitled (specify): OBJECTION TO CONFIRMATION OF CHAPTER
     13 PLAN AND REQUEST FOR DISMISSAL will be served or was served (a) on the judge in chambers in the form and
     manner required by LBR 5005-2(d); and (b) in the manner stated below:

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
     Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
     10/11/2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
     following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
--   Amrane Cohen efile@ch13ac.com
     US Trustee ustpregion.16.sa@usdoj.gov
     Halli B Heston hheston@hestonlaw.com
                                                                                                 Service information continued on attached page

     2. SERVED BY UNITED STATES MAIL:
     On (date) 10/11/2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case
     or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
     class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
     will be completed no later than 24 hours after the document is filed.




                         Kelly Deniz Necar
                         25962 Via Del Sur
                         Mission Viejo, CA 92691
                                                                                                 Service information continued on attached page

     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
     for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
     the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
     such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
--   that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
     filed.


     The Honorable Theodor C. Albert
                                                                                                 Service information continued on attached page

     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

       10/11/2023                     Aldo Amaya                                                      /s/ Aldo Amaya
       Date                           Printed Name                                                    Signature




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


     June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
